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   IT IS ORDERED as set forth below:



   Date: October 6, 2020
                                                         _________________________________

                                                                  Jeffery W. Cavender
                                                             U.S. Bankruptcy Court Judge

 ________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                              :      CHAPTER 7
                                                    :
HCG SOFTWARE, LLC.,                                 :      CASE NO. 15-63347-JWC
dba Hawthorne Consulting Group, LLC,                :
dba PrevisionEPM,                                   :
                                                    :
         Debtor.                                    :


  ORDER APPROVING TRUSTEE’S FINAL REPORT AND APPLICATIONS FOR
COMPENSATION AND REIMBURSEMENT OF EXPENSES OF THE TRUSTEE AND
                PROFESSIONALS OF THE TRUSTEE

         On August 31, 2020, the Chapter 7 Trustee (“Trustee”) filed applications for payment of

compensation in the amount of $4,831.75 and expenses in the amount of $154.77 to the Chapter

7 Trustee [Doc. No. 96-1], compensation in the amount of $41,869.94 and expenses in the

amount of $336.35 to Arnall Golden Gregory LLP, the Chapter 7 Trustee’s counsel [Doc. No.

96-2], compensation in the amount of $9,600.00 and expenses in the amount of $0.00 to Pierce

McCoy, PLLC, the Chapter 7 Trustee’s special counsel [Doc. No. 96-3], and compensation in



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the amount of $18,961.58 and expenses in the amount of $814.36 to Hays Financial Consulting,

LLC, the Chapter 7 Trustee’s accountants [Doc. No. 96-4] (collectively, the “Fee

Applications”).1

        Also on August 31, 2020, Trustee filed his Trustee’s Final Report (TFR) [Doc. No. 96]

(the “Trustee’s Final Report”) in which he proposed to make certain distributions to creditors,

including the above mentioned professionals.

        And, on September 2, 2020, Trustee filed a notice [Doc. No. 97] (the “Notice”) of the

Fee Applications, setting the Fee Applications and Trustee’s Final Report for hearing on October

1, 2020 (the “Hearing”).

        Trustee certifies that he served the Notice on all creditors and parties in interest entitled

to notice. [Doc. No. 97-1].

        No party in interest filed a response in opposition to the relief requested in the Fee

Applications or Trustee’s Final Report.

        Trustee and counsel for Trustee and for Trustee’s professionals appeared at the Hearing.

No creditors or parties in interest appeared to oppose the relief requested in the Fee Applications

or Trustee’s Final Report.

        The services sought to be compensated in the Fee Applications have been evaluated

pursuant to 11 U.S.C. §§ 326 and 330. The compensation requested by Trustee is less than the

statutory fee provided in 11 U.S.C. §326, and appears reasonable under the circumstances. The

compensation of Trustee’s professionals is reasonable under the circumstances.            Under the

principles set forth in Norman v. Housing Authority of City of Montgomery, 836 F.2d 1292 (11th


1
        In several of the applications, the actual amount of fees and expenses requested were
greater than the amounts set out in this Order, but those fees and expenses were voluntarily
reduced based on available funds, as set out in greater detail in Trustee’s Final Report [Doc. No.
96].


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Cir. 1988), and this Court’s knowledge of prevailing market rates and an evaluation of the skill,

experience, and reputation of the professional applicants, the hourly rates which they seek to

charge are reasonable. Review and consideration of the Fee Applications, the entire record in

this bankruptcy case, and the statements of counsel at the Hearing, shows that the hours

expended were reasonable. The Court further finds that the expenses, for which reimbursement is

sought, were reasonable and necessary in rendering the services. No factors are present in this

case that require reduction or enhancement of the lodestar. Accordingly, for those reasons set

forth on the record at the Hearing, and for good cause shown, it is hereby

         ORDERED that the Fee Applications and Trustee’s Final Report are APPROVED and

this approval is made final. It is further

         ORDERED that the fees and expenses requested are allowed as compensation and

reimbursement of expenses as follows:

                Applicant                    Docket     Fees       Expenses         Total
                                              No.
 S. Gregory Hays, Chapter 7 Trustee           96-1     $4,831.75     $154.77         $4,986.52
 Arnall Golden Gregory LLP,                   96-2    $41,869.94     $336.35        $42,206.29
 attorneys for Chapter 7 Trustee
 Pierce McCoy PLLC, special                   96-3     $9,600.00        $0.00        $9,600.00
 counsel for Chapter 7 Trustee
 Hays Financial Consulting, LLC,              96-4    $18,961.58     $814.36        $19,775.94
 accountants for Chapter 7 Trustee

It is further

        ORDERED that Trustee is authorized and directed to pay said compensation and

reimbursement of expenses approved herein based on available funds and as specifically outlined

in Trustee’s Final Report.

                                     [END OF DOCUMENT]




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Order prepared and presented by:

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Identification of parties to be served:

Office of the U.S. Trustee, 362 Richard B. Russell Federal Building, 75 Ted Turner Drive, SW,
Atlanta, GA 30303

S. Gregory Hays, Hays Financial Consulting, LLC, 2964 Peachtree Rd, NW, Suite 555, Atlanta,
GA 30305

Jonathan A. Grasso, Pierce McCoy, PLLC, 101 West Main Street, Suite 101, Norfolk, VA
23510-1694

Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, GA
30363

All Entities on the Creditor Matrix




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